                          Case 2:23-cv-06024-SB-PD Document 4 Filed 07/25/23 Page 1 of 2 Page ID #:23




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                          10 d/b/a FISHWIFE TINNED SEAFOOD COMPANY
                          11
                          12                              UNITED STATES DISTRICT COURT
                          13             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                          14
                          15 SHRIMP GIRLS, INC. d/b/a                   Case No. 2:23-cv-06024
                             FISHWIFE TINNED SEAFOOD
                          16 COMPANY,                                   PLAINTIFF SHRIMPY GIRLS,
                                                                        INC. D/B/A FISHWIFE TINNED
                          17                 Plaintiff,                 SEAFOOD COMPANY’S
                                                                        CORPORATE DISCLOSURE
                          18           vs.                              STATEMENT (CIVIL L.R. 7.1-1 &
                                                                        FED. R. CIV. P. 7.1)
                          19 CAROLINE GOLDFARB AND
                             BENJAMIN GOLDFARB
                          20
                                     Defendant.
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San Francisco, California 94104   CORPORATE DISCLOSURE STATEMENT                                 44022\16290075.1
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                                  Case # 2:23-cv-06024
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                             1         The undersigned, counsel of record for Plaintiff Shrimp Girls, Inc. d/b/a
                             2 Fishwife Tinned Seafood Company, certifies that the following listed party (or
                             3 parties) may have a pecuniary interest in the outcome of this case. These
                             4 representations are made to enable the Court to evaluate possible disqualification or
                             5 recusal.
                             6         Rebecca Millstein: CEO, co-founder, and majority shareholder of Shrimp
                             7 Girls, Inc. d/b/a Fishwife Tinned Seafood Company.
                             8
                             9         In compliance with Federal Rule of Civil Procedure 7.1, Plaintiff Shrimp
                          10 Girls, Inc. d/b/a Fishwife Tinned Seafood Company further states that it has no
                          11 parent company and that no publicly held corporation owns 10 percent or more of its
                          12 stock.
                          13 Dated: July 25, 2023
                          14                                         By:        /s/ Karen P. Kimmey
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                                  Case # 2:23-cv-06024
